              IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF MISSOURI
                          SOUTHWESTERN DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
                         Plaintiff,       )
                                          )
     vs.                                  )      No. 16-05004-03-CR-SW-RK
                                          )
RANDALL E. RICE,                          )
                                          )
                         Defendant.       )

                         REPORT AND RECOMMENDATION
                         CONCERNING PLEA OF GUILTY


     The Defendant, by consent, has appeared before me pursuant to

Rule 11, F.R.Cr.P., 22(k)(26), WDMO, and 28 U.S.C. '636, and has

entered a plea of guilty to Counts One and Seventeen and admitted

to the Forfeiture Allegation contained in the Indictment filed on

January 19, 2016.        After cautioning and examining the Defendant

under oath concerning each of the subjects mentioned in Rule 11, I

determined that the guilty pleas were knowledgeable and voluntary,

and that the offenses charged are supported by a factual basis for

each of the essential elements of the offenses.                   I therefore

recommend that the pleas of guilty be accepted and that the Defendant

be adjudged guilty and have sentence imposed accordingly.




Date:     August 3, 2016                   /s/ David P. Rush
                                          DAVID P. RUSH
                                          UNITED STATES MAGISTRATE JUDGE



        Case 3:16-cr-05004-RK   Document 104   Filed 08/03/16   Page 1 of 2
                                 NOTICE

     Failure to file written objections to this Report and
Recommendation within 14 days from the date of its service shall bar
an aggrieved party from attacking such Report and Recommendation
before the assigned United States District Judge. 28 U.S.C.
'636(b)(1)(B).




     Case 3:16-cr-05004-RK   Document 104   Filed 08/03/16   Page 2 of 2
